Case 1:05-cV-OO723-RWR Document 31-1 Filed 01_/24/06 Page 1 of 27

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

SALIM MUHOOD ADEM, Detainee,
Guantanamo Bay Naval Base
Guantanamo Bay, Cuba,

Petitioner,
Civil Action No. l:US-CV-00?23
~ vs - (RWR)
GEORGE W. BUSH, President of the
United States of Arnerica,

DONALD RUMSFELD, Secretary of
Defense, ARMY BRIG. GEN. JAY
HOOD, Cornmander, Joint Task Force -
GTMO, Guantanamo Bay Naval
Station, Guantanamo Bay, Cuba

Respondents-

W>WBCMCOJW¢WDWOGMCO¢WBW§¢O°W>W?¢TMCMOOQWUW>

All sued in their official capacities

DECLARATION OF RACHEL G. CLINGMAN

1. My name is Rachel Giesber Ciingman. l am an attorney with the law firm of Fulbright &
Jaworski L.L.P. I am counsel for Petitioner Salim Muhood Adem, ISN # 710, currently detained
at Guantanamo Bay (GTMO), Cuba.

2. This declaration is filed to present additional evidence to the Court following the hearing
on December 29, 2005, at which the parties discussed Respondents’ “Next Friend’-’ objection and
Pctitioner’s Emergency Motion to Hold Respondents in Conternpt, filed Decernber 9, 2005.

3. Respondents have imposed a stay on all access to Petitioner and travel by counsel to
GTMO while the current motions are pending,

4. Declaration of Bisber Al-Rawi. Afier the December 29, 2005, hearing, Counsel secured
the Declaration of Bisher Al-Rawi, thc detainee characterized by Respondents in this case as the
“next friend” of Petitioner. The Declaration, which is attached as Exhibit A, provides
information that Respondents requested on the contact between Mr. Al-Rawi and Mr. Adeni, Mr.
Adem’s request for conn sel, and other information

EXHIB!T l

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5. Rescheduled Travel Request. Counsel submitted a request for approval for travel to
G'I`MO and access to Mr. Adem on February 21-22. Counsel asked for these dates specifically
to preserve a date on the GTMO schedule and to allow for time for the pending motion for access
to be decided. A copy of our request is attached as Exhibit B.

6. Respondents denied the request and refuse to schedule any trip until the pending motion
is resolved. The response is attached as Exhibit C.

7. Correspondence to Mr. Adem. In response to Petitioner’s Motion for Conternpt,
Respondents stated that “each individual detained by the DOD at Guantanamo is given the
opportunity to send and receive mail.” (See Declaration of First Lieutenant, Wade M. Brown.
Lt. Brown.) Further, Lt. Brown declares that “incoming mail is also typically processed within
fourteen days on average.”

8. Undersigned counsel thus attempted tc utilize the mail to contact Petitioner. In
accordance with the procedure set forth in the Protective Order, Petitioners’ Counse] wrote to
Mr. Adern. The lettcr, a copy of which is attached hereto as Exhibit D, was translated into
Arabic and sent by U.S. Mail with counsel authorization forms and a return address envelopes on
Tuesday, January 3, 2006.

9. To avoid any delay, and to test the accuracy of Respondents’ declaration on the timing
and reliability of mail delivery, we A§Q mailed the same letter, in English and Arabic translation,
without any staples, paperclips or the like on January 4, 2006.

10. To avoid any argument by Respondents’ that we had not attempted every possible
method of communication, we alj sent mail through the “legal mail” system set forth in the
Protective Order on January 4, 2006. On January 12, Petitiorier’s counsel were notified that the
“legal mail” letter to Petitioner had been received by the legal mail team but would not be
delivered to Petitioner. See Exhibit E. '

   
 
    

Rachel G. Cling a

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Case 1:05-cV-OO723-RWR Document 31-1 Filed 01/24/06 Page 4 of 27

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t, Bésher .»‘tl-`Rawi declare the £r)!tcw£ag, under century cf parjury._

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which § identified a number ct` prisoners who had requested legal representatica,.

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spcciti caity requested that I try re get him an atterncy. tie also informed me that he had
written to Mr. Mir,'k;unt

Salim Ma_lht,md At_ieaz made his request tc me waters the m.i_§itary notified att the prisoners
e'!"ti;ciz‘ right to petition the cc-i.lrts.

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I-Based on my conversations with Sa.iitu Mu§mcd Adcmt_ I`lrncw that he does not trust his

_Case 1:05-cV-OO723-RWR Document 31-1 Filed 01/24/06 Page 5 of 27

military carriers
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l declare under penal t_y.- cf perjury under the taxes cf the Unit.ed States of .r\.azerica that the

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Case 1:05-cV-OO723-RWR Document 31-1 Filed 01/24/06 Page 7 of 27

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RAcHt:L CLmoMAN
PARTN:R
ncLlNoMAN@FuLaRlol-I'r.com

Andrew I. Warden

Tris.l Attomey

U.S. Dopartment of Justice

Civil Division, Federal Programs Brench
20 Massachusetts Ave., NW, Room 6120
Washington, DC 20530

Ianuary 10, 2006

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Vlu U.S. Mat'l,
Fccslmit‘e & Emai!

Rc: Cause No. l:DS-CV-00723; Sa!:'m Muhood Adem, Detainee, Guantanamo Bay Na“val
Base, Guantanamo Bay, Cuba v, George W. Bush, President of the Unired State.s of
America, Donald R`um.rfeia’, Secrerary of Defens'e, Ar'my Brig. Gen. Jay Hood.
Commander, Joint Ta.s'k Force - GTMO, Guantanarna Bay Nava£ Sration, Guantanamo
Bay, Cuba; in the United States District Court for the Dish‘ict of Columbia

Detainee Salim Muhood Adem, ISN #: ’l' 10

Dcar Mr. Werden:

I have enclosed a habeas counsel visitation request fonn.

As you know, we had arranged to meet Mr. Adern at GTMO on January 12, 2006. We had to
reset that date because the Court has not yet ruled on our pending motion for access to Mr. Adem.

We make this request with the anticipation that we will have a court ruling or an agreement with
Defendants by February 20. We request at least eight hours with Mr. Adem on February 21 and three
hours on the morning of Februery 22 as reflected in the enclosed form. We can schedule the exact time

that day according to the GTMO schedule.

Pleasc confirm your receipt of this, and please advise if wc can arrange to a meeting with Mr.
Adem, Mr. Murrey Fogler, and myself on February 21-22, 2006, pending the resolution of the current

motion. .

RGC:mm
Enclosure

31054386.\

 

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Case 1:05-cV-OO723-RWR Document 31-1 Filed 01/24/06 Page 8 of 27

Andrew I. Warclen
January 10, 2006
Page 2

cc: Murray J. Fogler
McDade Fogler, L.L.P.
Two Houston Center
909 Fannin Street Suite 1200
Houston, TX ?7010-1006

310543 86.1

Case 1:05-cV-OO723-RWR Document 31-1 Filed 01/24/06 Page 9 of 27

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RECIPIENT($): ‘ l FAX No.: Pnom: No.:
Andrew[. Wa:rden 202-616-8460 / 202-514-2000

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EXH|B|T C

Case 1:05-cV-OO723-RWR Document 31-1 Filed 01/24/06 Page 12 of 27

McRee, Mindy

From: Andrew.Warden@usdoj.gov

Sent: Fridayl January 13, 2006 9:18 AM

To: McRee, Nlint|yr

Cc: C|ingman, Rache|; mfog|er@mcdadefogler.com
Subject: RE: Adem!GTMO (|SN #: 710)

Ms. Clingman & Mr. Foglcr,

We cannot agree to take any action on your visit request until our challenge to next-friend standing in thc Adem
case is resolved Due to the burdens associated with arranging habeas counsel visits, GTMO cannot schedule visits
based on anticipated events that may not occur. If the next»friend issue is ultimately resolved in your favor, you
may resubmit a visit rcqucst, in accordance with the Rcvised Procedures for Counscl Acccss, and it will bc
evaluated accordingly

Regards,
Andrew

Andrew I. Warden

Trial Attorney

U.S. Dc.partment of Iustice

Civil Division, Federal Prograrns Branch
20 Massachusctts Ave., NW, Roorn 6120
Virashington, DC 20530

Tel: 202.616.5084

----- Original Mcssage»---~

From: mmcree@fulbright.com [mailto:mmcree@fulbright.com]
Sent: Tuesday, ]anuary 10, 2006 4:35 PM

To: Warden, Andrew {_CIV)

Cc: rclingrnan@f`ulbright.eom; mf`oglcr@mcdadct`oglcr.com
Subject: FW: Adem/GTMO (ISN #: 710)

Mr. Warden.'

Attachcd please find our correspondence regarding travel to GTMO re Salim Muhood Adern (ISN#710). Please
contact me or Rachei Clingman if you have any questions.

Thank you,

Mindy McRec

(Sccretary to Rachel G. Clingman)
Fulbright 8c }aworski L.L.P,

1301 McKinney Sujte 5100
Houston, TX 77010-3095
713-651~5405

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mmcree@{"ulbright.com

----- Original Messagc-----

Proni: mmcrce@fulbright.€om [_mailto:mmcree@fufbright.com_]
Sent: 'l`llttsclay1 ]antlary lU, 2006 3:38 PM

To: McRcc1 Mindy

Subject: Adem

Please open the attached document
Th is document was sent to you using an HP Digital Sender.

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EXH|B|T D

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HOUSTON, TEX.AS 77010-1006
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[713) 654-431|3 mfog'ler@.m ed ade!oglsr.com

December 30, 2005

Re: Cause No. l:05-CV-00723; Salim Muhood Adem, Derat’nee, Guantanamo Bay
Naval Base, Guantanamo Bay, Cuba v. George W. Bush, President of the United
State.s' of Amert'ca, Donald Rumsjizlc_t', Secretarjy of Defense, Army Brz`g. Gen. Jay
Hood, Commander, Joim‘ Task Force - GTMO, Guantanamo Bay Naval Station,

Guantanamo Bay, Cubo; in the United Statcs District Court for the District of
Columbia

Salim Muhood Adcm (ISN 710)
Guantanemo Bay Naval Base
Guantancmo Bay, Cuba

Dear Mr. Adern:

I am an attorney in the Unitcd States. I received your name from the attorney for
Mr. Bisher Al-Rawi, who is also detained in Guantanamo. Mr. Al-Rawi wrote a letter to
his attorney stating that you would like an attorney

l have volunteered to represent you free of charge. I filed a lawsuit on your behalf
challenging your detention I would like to meet with you to explain everything, but the
Unitcd Statcs government has not allowed me to visit you. The government will not
allow me to represent you without proof that you want an attorney

The government is seeking to dismiss the lawsuit filed for you UNLESS we have a
signed form from you. I have enclosed the form that is needcd. If you want an attorney
and want me to represent you, please sign the enclosed form and mail it to me
immediately at this address: McDade Foglcr, LLP, 909 Fannin Street, Suite 1200,
Houston, TX 77010-}006.

W_ith best regards,

Murrz Fo§er

MF/smc

c: Ms. Rachel G. Clingman
Fulbright & IaWorski, L.L.P.
1301 McKinncy, Suitc 5100

Houston, 'I`exas 77010-3095
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McDade Fogler, LLP, 909 Fannin Street, Suite 1200, Housto_n, TX 77010-1006.

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Case' 1:05-cV-OO723-RWR Document 31-1 Filed 01/24/06 Page 17 of 27
` - ` Attorney-Detaioee
Materials

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ACK.NOWLED OF SE TATIO

Pursuant to S`ection III.C.2 of the “Revised Procedures F or Ccunsel Access To Detainees
At The U.S. Naval Base In Guantanamo Bay, Cuba,” detainee hereby certifies that he is
represean by the undersigned counsel who has filed a petition for writ of habeas corpus or other
federal court litigation on the detainee’s behalf.

If counsel withdraws from representation of the detainee or if the representation is
otherwise tenninated, counsel shall inform the Department of Defense immediately of that

change in circumstances

 

 

Signature of Detainee Signature of Counsel

 

 

Print Name of Detainee in English Print Name of Counsel in English

 

Print Name of Detainee in Native Language (if other than English]

Date:

 

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EXH|B|T E

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Clingman, Rachel

From: Jennifer.Campbel|@usdoj.gov

Sent: Thursday, January 121 2006 1:09 PM
To: C|ingman, Rache|

Su bject: Lega| Mail

Rachei,

We received legal mail from you for detainees in Guantanamo. However, we do not have you Or\ the approved mailing
list for mail to detainees. Can you contact government attorney, Andrew Warden at (202) 616-5084 to determine what
needs to be on file in order for you to be approved?

Then he'll let me know when your mail can be sent on to Gtmo.

.lennil`er

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IN THE UNITED STATES I)ISTRICT C()URT
FOR 'I`HE DISTRICT OF COLUMBIA

 

MAJID ABDULLA AL JOUDI, et af.,

PelilionersfP]aintiffs,
v.
GEORGE W. BUSH, er a£`.,

Respondenlstefend-dnts.

 

 

SALEH ABDULLAl-l AL-OSHAN, el al.,

PetitionersfP|ainliffs,
V.
GEORGE W. BUSH, et a£.,

Respondentstcfendanls.

 

 

NASSER MAZYAD AL~SUBAIY, er af.,

PetitionerSIPlaintiffS,
v.
GEORGE W. BUSH, er al..

Respondentstcfendants.

 

 

Civil Action No. 05-03(}1 (GK)

Civil Action NO. 05-0520 (RMU)

Civil Action No. 05-`|453 (RMU)

EX-HlBlT 2»

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DECLARATION BY .]ULIA TARVER, ESQ.
l, Julia Tarver, declare that the following statements are true to the best of
my knowledge information, and belief:

l. l am a member of the law firm of Pau|, Weiss, Rifkind, Wharlon
& Garrison LLP, counsel for Petitioners in the above-captioned actions. I offer this
Dec]aration to provide additional facts and information regarding our authority to
represent Petitioners.

2. As we have previously indicated in correspondence with
representatives of the Dcpartment of Justice, Paul, Weiss is authorized to represent all
Petitioners in the above-captioned actions by valid authorizations from a “next friend”
pursuant to 28 U.S.C. § 2242. Each of the next friends is either a family member or
fellow detainee knowledgeable about the petitioner’s situation. We continue to believe
that these authorizations provide more than sufficient authority for us to act on behalf of
Petitioners. Nonetheless, we provide herein additional facts and information relevant to
our authority to represent Petitioners.

3. My colleagues and l have conducted either two or three visits
with each Petitioner, and we are in the process of establishing a trusting attorney-client
relationship with each of then‘l, despite the difficult circumstances under which our
meetings with them occur.

4. B y the lime we received appropriate security clearances and first
met with each of our clients in June 2005,l they had been detained by the military at

Guantanamo for over three years without any access whatsoever to the outside world.

 

1 We first met with Petitioner Al-Subaiy in ]uly 2005.

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As laypersons, we could readily observe that this isolation has a profound psychological
and emotional impact on our clients. We also have reason to believe that our clients
were subjected to torture and abuse, in a variety of forms, at the hands of the American
military. This had the effect of making our clients incredibly distrustful both of
Americans and of anyone purporting to be their friend or to be acting on their behalf

5. While we have made substantial progress in developing rapport
and trust with our clients over the two or three visits we have had with each of them, we
have not yet been able to secure from all of them written acknowledgments of our
representation While a few have felt secure enough to sign such a document, the
majority of our clients remain deeply reluctant about signing any piece of paper given to
them, after all they have been through.

6. We have every reason to believe that this reluctance is a product
of their psychological, emotional, and in some cases mental or physical, deterioration
while they have been imprisoned without charge at Guantanamo. Their reluctance is
also, we believe, a product of their fear of Americans in general after what they have
suffered at the hands of American interrogators And finally, their reluctance may be
due to actions taken by the U.S. military itself to discourage detainees from seeking the
assistance of counsel.

?. Upon information and belief, members of the U.S. Armed Forces,
or persons working on their behalf, have told detainees not to trust their lawyers.

8. Shockingly, one of our clients told us that the military had told

him that we were not attorneys at all.

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9. Upon information and belief, members of the U.S. Armed Forces,
or persons working on their behalf, have impersonated private attorneys in interrogations
of the detainees

10. Upon information and belief, members of the U.S. Armed Forces,
or persons working on their behalf, have told detainees that if they work with attorneys,
they will be less likely to be released from their detention at Guantanamo.

l l. Finally, on one occasion, we were told by the Staff Judgc
Advocate ("SJA”) that one of our clients had refused to see us. We then sent a letter to
that client explaining our desire to meet with him. The SJA informed us that our client
had refused to accept the letter. On our next visit, our client informed us that he had not,
and would never, refuse our visit or our mail. He had been participating in the hunger
strike during our previous visit and had been too weak to speak to the SJA, who had
simply told him that he was too weak to meet with his attorneys According to our
client, the S]A never attempted to deliver the mail.

12. We view each and all of the above actions to be unconscionable
and to be direct and substantial interferences with the attorney-client relationship.

13. ln addition, several of our clients are suffering from serious
medical conditions that make our meetings with them strained and our ability to focus
on mundane matters such as form signatures inappropriate or impossible Some ol" these
conditions, such as severe epilepsy, predated our clients’ capture by the American
military. Other medical conditions, such as those arising from the desperate hunger

strike. are a direct product of our clients’ imprisonment without charge at the camp.

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l4. Nevertheless, despite this culture of fear and distrust at
Guantanamo, each of our clients has willingly agreed to meet with us. They have
received our legal mail and some have written to us in response. Each of our clients
discussed the legal issues in their case with us, and an attorney-client relationship has
been formed with each of them, despite the extreme circumstances of their condition at
the camp.
15. l declare, under penalty of perjury under the laws of the United
States that the foregoing is true and correct.
Executed this 17th day of Novcmber 2005
New York, New York

fsf
Julia Tarver

